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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                             )   Civil Action No. 25-0604
ESPINOZA ESCALONA, et al.,                   )
                                             )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )
                                             )
 KRISTI NOEM, Secretary of the U.S.          )
 Department of Homeland Security,            )
 et al.,                                     )
                                             )
              Defendants.                    )
                                             )


                       RESPONDENTS’ OPPOSITION TO MOTION
                             FOR STAY OF TRANSFER
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                                        INTRODUCTION

       Plaintiffs, ten individuals with final orders of removal detained in immigration detention

facilities located in Texas, Arizona, and Georgia, filed this emergency motion seeking an order to

prevent their potential transfer to the Naval Station Guantanamo Bay (NSGB). In support of their

motion, Plaintiffs contend that they are at imminent risk of transfer because they “heard” that the

Department of Homeland Security (DHS) is transferring immigration detainees with final orders

of removal to NSGB and believe they share one or more characteristics of some of the transferred

detainees. If actually transferred, Plaintiffs claim that their detention at NSGB would be

inconsistent with the Secretary of Homeland Security’s authority under the Immigration and

Nationality Act (INA), and would result in the Plaintiffs being subject to unconstitutional

conditions of confinement. They assert these challenges under both the Administrative Procedure

Act (APA), 5 U.S.C. § 706(2)(A), and through a writ of habeas corpus, 28 U.S.C. § 2241. ECF

No. 1 at ¶¶ 64-80.

       Plaintiffs’ request for emergency relief fails on multiple levels. First, Plaintiffs lack

standing to challenge their prospective detention at NSGB as they are only ten of the tens of

thousands of immigration detainees in DHS custody and lack any reasonable basis to claim they

are at imminent risk of transfer. Second, Plaintiffs fail to show that their claims—all challenging

the (hypothetical) legality of their detention and their (hypothetical) conditions of confinement if

transferred to NSGB—are cognizable under the APA. They also are not cognizable as Plaintiffs

challenge presidential orders, non-final actions, and matters subject to the Secretary’s discretion

and statutory review bars. In reality, at best, Plaintiffs’ claims sound in habeas, and to the extent

any of the claims survive a motion to dismiss, they should be severed into individual habeas cases

and transferred to the Plaintiffs’ respective jurisdictions of confinement.



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       Plaintiffs’ claims also fail on the merits. The Secretary of Homeland Security has the

authority to detain individuals with final orders of removal in overseas U.S. Government facilities

consistent with 8 U.S.C. §§ 1103(a)(3), 1225(b)(1)(B)(iii)(IV), 1231(a)(6), and 1231(g).

Defendants have acted in a manner consistent with that authority as well as the President’s

Memorandum, Expanding Migrant Operations Center at Naval Station Guantanamo Bay to Full

Capacity (Jan. 29, 2025). In addition, Plaintiffs’ allegations regarding the conditions of

confinement are inconsistent with current DHS procedures and do not support entry of an order

prohibiting transfers to NSGB.

       Finally, Plaintiffs fail to show that the remaining equitable factors support the entry of

temporary injunctive relief. Notably, Plaintiffs cannot show that “irreparable injury is likely in the

absence of” preliminary relief, which is a bedrock requirement. Winter v. NRDC, 555 U.S. 7, 22

(2008). For all the reasons that Plaintiffs have failed to establish that their transfer to NSGB is

imminent, they cannot establish it is likely either. In addition, Plaintiffs are not presently subject

to the challenged conditions, are represented by counsel, and would have the ability to challenge

any unlawful detention should their predictions prove correct. Conversely, an order restricting the

government’s ability to transfer detainees with final orders of removal will interfere with the

government’s ability to plan, stage, and carry out removal operations, which would be contrary to

the public interest. The Court should deny the motion.

                                         BACKGROUND

       A. Legal Background. The Executive Branch has extensive constitutional authority in the

field of immigration, and Congress has further conferred broad statutory discretion over the

administration and enforcement of the nation’s immigration laws. United States ex rel. Knauff v.

Shaughnessy, 338 U.S. 537, 543 (1950); see, e.g., 6 U.S.C. § 202(5); 8 U.S.C. § 1103(a)(3). Prior



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to January 20, 2025, 1 applicants for admission who were intercepted at entry or shortly after

unlawfully entering the United States could be subject to an expeditious process to remove them

from the United States under 8 U.S.C. § 1225(b)(1), as described herein. Under this process—

known as expedited removal—applicants for admission arriving in the United States (as designated

by the Secretary of Homeland Security) who entered illegally and lack valid entry documentation

or make material misrepresentations shall be “order[ed] . . . removed from the United States

without further hearing or review unless the alien indicates either an intention to apply for asylum

under [8 U.S.C. § 1158] or a fear of persecution.” 8 U.S.C. § 1225(b)(1)(A)(i); see 8 U.S.C. §

1182(a)(6)(C), (a)(7); see also DHS v. Thuraissigiam, 591 U.S. 103, 107-110 (2020) (discussing

expedited removal); Am. Immigr. Lawyers Ass’n v. Reno (AILA), 199 F.3d 1352, 1354-55 (D.C.

Cir. 2000) (same). They will remain subject to a final order of expedited removal if they do not

manifest a fear of return, or if they manifest fear but are unable to show that the fear is credible.

See 8 U.S.C. §§ 1225(b)(1)(A)(ii), 1225(b)(1)(B)(v); 8 C.F.R. § 233.15(b)(4). Individuals subject

to a final order of expedited removal can be lawfully detained until they are removed from the

United States. 8 U.S.C. § 1225(b)(1)(B)(iii)(IV). Individuals subject to final orders of expedited

removal have very limited due process rights with respect to their admission to the United States.

See Thuraissigiam, 591 U.S. at 138-40.

       If the applicant for admission manifests a fear of return and the asylum officer determines

that the applicant has a credible fear, the officer will issue a Notice to Appear, placing the applicant

in removal proceedings under 8 U.S.C. § 1229a. 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. § 208.30(f).

These removal proceedings provide more extensive procedures than expedited removal, compare



1
 See Protecting the American People Against Invasion, https://www.whitehouse.gov/presidential-
actions/2025/01/protecting-the-american-people-against-invasion/ (Jan. 20, 2025).


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8 U.S.C. § 1229a with § 1225(b)(1), including a right to appeal to the Board of Immigration

Appeals (Board) and a federal appellate court. 8 U.S.C. § 1252(a)(1). An applicant for admission

who demonstrates a credible fear “shall be detained for further consideration of the application for

asylum.” 2 8 U.S.C. § 1225(b)(1)(B)(ii); Jennings, 583 U.S. at 297 (“Read most naturally, §§

1225(b)(1) and (b)(2) . . . mandate detention of applicants for admission until certain proceedings

have concluded.”).

       For anyone with a final order of removal entered following removal proceedings held under

8 U.S.C. § 1229a, Congress has authorized detention under 8 U.S.C. § 1231(a) while the

government works to execute the removal order. Section 1231(a)(6), as interpreted by the Supreme

Court in Zadvydas v. Davis, 533 U.S. 678, 699-701 (2001), limits post-final-order detention to the

period reasonably necessary to accomplish removal. 533 U.S. at 701. The Court determined that

six months is a presumptively reasonable period of time to allow the government to complete

removal after the removal period has commenced. Id. at 701.

       Once the six-month period has run, and “the alien provides good reason to believe that

there is no significant likelihood of removal in the reasonably foreseeable future, [then] the

Government must respond with evidence sufficient to rebut that showing.” Id. “This 6–month

presumption, of course, does not mean that every alien not removed must be released after six

months. To the contrary, an alien may be held in confinement until it has been determined that

there is no significant likelihood of removal in the reasonably foreseeable future.” Zadvydas, 533

U.S. at 701. In making this assessment, the Supreme Court has counseled immigration habeas



2
  The only exception to § 1225(b)(1)’s detention mandate is found in 8 U.S.C. § 1182(d)(5)(A),
which allows DHS to parole applicants for admission into the United States for “urgent
humanitarian reasons or significant public benefit.” See Jennings, 583 U.S. at 300 (holding that
the existence of § 1182(d)(5)(A)’s “express exception to detention implies that there are no other
circumstances under which aliens detained under § 1225(b) may be released”).
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courts to apply “[o]rdinary principles of judicial review” in order to “give expert agencies

decisionmaking leeway in matters that invoke their expertise” and “recognize [the] Executive

Branch[’s] primacy in foreign policy matters.” Id. at 700 (citing Pension Benefit Guaranty

Corporation v. LTV Corp., 496 U.S. 633, 651-652 (1990); Container Corp. of America v.

Franchise Tax Bd., 463 U.S. 159, 196 (1983)). Specifically, the Supreme Court instructed habeas

courts to “listen with care when the Government’s foreign policy judgments, including, for

example, the status of repatriation negotiations, are at issue, and to grant the Government

appropriate leeway when its judgments rest upon foreign policy expertise.” Zadvydas, 533 U.S. at

700.

       B. Factual Background. On January 29, 2025, the President issued a Memorandum

ordering DHS and the Department of Defense (DoD) to take all necessary steps to expand the

Migrant Operations Center (MOC) in NSGB to allow for the housing of “high-priority criminal

aliens unlawfully present in the United States.” DoD acted swiftly to comply with the President’s

Order by creating the Joint Task Force Southern Guard (JTF-SG) to work with DHS to

operationalize the Memorandum. Declaration of Lieutenant Colonel Robert Green at ¶¶ 2-3.

       The detainees are housed in two areas of the base, with the higher-threat immigration

detainees housed in Camp VI and the lower-threat detainees housed at the MOC. Green Decl. at

¶¶ 3-4, 16-17. As of March 7, 2025, there are a total of 40 immigration detainees located at NSGB,

23 are housed at Camp VI and 17 are housed at the MOC. Declaration of Deputy Field of Director

Juan Lopez Vega at ¶ 8. A total of 290 immigration detainees have transited through NSGB since

the start of the mission. Lopez Vega Decl. at ¶ 7. All of these detainees have final orders of

removal, and have been from 27 different countries. Lopez Vega Decl. at ¶ 8. They have been




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transferred to NSGB as a staging point in route to completing their removals. Lopez Vega Decl. at

¶ 8.

       DHS has developed procedures applicable to immigration detainees at NSGB, and DoD is

following and supporting DHS procedures. Lopez Vega Decl. at ¶¶ 9-38; Green Decl. at ¶¶ 3, 6-

10, 12-13, 18-19, 21-31. Defendants are providing immigration detainees access to counsel, the

opportunity to make calls to family and friends, communal living, recreation time, nutrition, and

medical care, and are handling searches and behavioral issues consistent with the Departments’

practices. Lopez Vega Decl. at ¶¶ 9-38; Green Decl. at ¶¶ 5-6, 8, 10, 13, 19, 22.

                                       LEGAL STANDARD

         A plaintiff seeking a temporary restraining order “must establish [1] that he is likely to

 succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

 relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

 interest.” Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014) (alteration in original)

 (quoting Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011)); Abdullah v. Obama, 753 F.3d

 193, 197–98 (D.C. Cir. 2014) (same). The last two factors merge when the government is a party.

 Nken v. Holder, 556 U.S. 418, 435 (2009). A preliminary injunction “is an extraordinary and

 drastic remedy, one that should not be granted unless the movant, by a clear showing, carries the

 burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam) (emphasis

 in original) (quoting 11A C. Wright, A. Miller, & M. Kane, Federal Practice and

 Procedure § 2948 (2d ed. 1995)). The Court of Appeals has emphasized that the “first and most

 important factor” is whether the moving party has “established a likelihood of success on the

 merits.” Aamer, 742 F.3d at 1038. “[W]hen a plaintiff has not shown a likelihood of success on

 the merits, [the court] need not consider the other factors.” Greater New Orleans Hous. Action



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 Ctr. v. HUD, 639 F.3d 1078, 1088 (D.C. Cir. 2011).

       The     D.C.    Circuit   has    expressly       cautioned   that   “[t]he     power   to    issue

a preliminary injunction should be ‘sparingly exercised.’” Dorfmann v. Boozer, 414 F.2d 1168,

1173 (D.C. Cir. 1969) (citation omitted). Heeding this caution, where, as here, the requested

injunction is “mandatory—that is, where its terms would alter, rather than preserve, the status

quo by commanding some positive act,” the Court requires the moving party to “meet a higher

standard than in the ordinary case by showing a clear entitlement to relief to avoid extreme or very

serious damage.” See, e.g., Elec. Privacy Info. Ctr. v. Dep't of Justice, 15 F. Supp. 3d 32, 39

(D.D.C. 2014) (“EPIC II”) (collecting cases); Veitch v. Danzig, 135 F. Supp. 2d 32, 35 & n.2

(D.D.C. 2001) (holding that where “a ruling would alter, not preserve, the status quo,” the plaintiff

“must meet a higher standard than were the injunction he sought merely prohibitory,” in light of

the Supreme Court's holding that “‘[t]he purpose of a preliminary injunction is merely to preserve

the relative position of the parties until a trial on the merits can be held’” (alteration in original)

(quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981))).

                                           ARGUMENT

I.     Plaintiffs lack standing to bring this suit and to seek the relief sought in their Motion.

       Article III of the U.S. Constitution limits the jurisdiction of federal courts to “cases” and

“controversies.” U.S. Const. art. III, § 2. “One element of the case-or-controversy requirement is

that [Plaintiffs] must establish that they have standing to sue.” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 408 (2013) (cleaned up). “To seek injunctive relief, a plaintiff must show that he is under

threat of suffering “injury in fact” that is concrete and particularized; the threat must be actual and

imminent, not conjectural or hypothetical; it must be fairly traceable to the challenged action of

the defendant; and it must be likely that a favorable judicial decision will prevent or redress the

injury.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009).

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       In particular, “[t]o establish Article III standing, an injury must be concrete, particularized,

and actual or imminent,” Clapper, 568 U.S. at 409 (quotations omitted), at the time the action is

filed. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 569 n.4 (1992) (citing Newman–Green, Inc. v.

Alfonzo–Larrain, 490 U.S. 826, 830 (1989)). The injury must demonstrate that the individual

“suffered an invasion of a legally protected interest” that is not “conjectural or hypothetical.”

Spokeo, 578 U.S. at 339 (internal quotations omitted). Here, Plaintiffs fail to establish a requisite

injury in fact. Plaintiffs’ claimed “injuries” here are (1) the very type of hypothetical and

conjectural claims that the Supreme Court has cautioned against and (2) neither actual nor

imminent. See id.

       Plaintiffs allege two primary “layers” of speculative, future injuries (from which additional

injuries allegedly flow). First, they allege that they will be transferred to NSGB by virtue of certain

risk factors, including their nationality, final orders of removal, tattoos, allegations made against

them of criminality (which they allege are false), or alleged statements that they would be

transferred to NSGB. See Mot. at 10–11. Second, Plaintiffs allege that upon transfer to NSGB,

their rights will be violated. See id. at 34–36. Neither of these conjectural layers qualify as “actual”

or “imminent” injury. Clapper, 568 U.S. at 409. Plaintiffs thus lack Article III standing.

       1.      Lack of Concrete and Particularized Injury

       An injury in fact must be “concrete and particularized.” See Spokeo, 578 U.S. at 339. “For

an injury to be particularized, it must affect the Plaintiff in a personal and individual way.” Id.

(internal quotations omitted). “A concrete injury must be de facto; that is, it must actually exist.”

Id. at 340 (internal quotations omitted). Under this analysis, Plaintiffs cannot demonstrate an actual

injury, and plaintiffs have effectively admitted as much. See Mot. at 1, 10. Plaintiffs have not been



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transferred to NSGB. See id. at 1. As a result, Plaintiffs’ alleged injury arising from their

hypothetical transfer to and confinement at NSGB does not “actually exist” and cannot be

“concrete” for that very reason. See Spokeo, 578 U.S. at 340. Neither can their claimed injury be

“particularized” since Plaintiffs have not been, and, presently, cannot, be affected in a personal

and individual way by the legality of a transfer to NSGB or the conditions in that facility. See id.

at 339. Simply put, neither the existence of immigration detention at NSGB nor the conditions

there has yet affected these particular Plaintiffs in a single concrete way. And the prospect that it

might is simply the sort of “conjectural or hypothetical” injury that does not establish standing.

Summers, 555 U.S. at 493.

       Plaintiffs are, therefore, unable to show an actual injury that is concrete and particularized.

See id. 339–40; Vote Forward v. DeJoy, No. CV 20-2405 (EGS), 2021 WL 1978805, at *23

(D.D.C. May 18, 2021) (“Standing to seek . . . forward-looking injunctive relief requires

[Plaintiffs] to show that [they are] suffering an ongoing injury.” (emphasis added) (citing Office v.

FERC, 949 F.3d 8, 13 (D.C. Cir. 2020))).

       2.      Lack of Imminent Injury

       Where, as here, a party is alleging future injuries, the “burden to establish standing [] is

‘significantly more rigorous.’” Pharm. Rsch. & Manufacturers of Am. v. HHS, 656 F. Supp. 3d

137, 150 (D.D.C. 2023) (quoting Chamber of Com. of U.S. v. E.P.A., 642 F.3d 192, 200 (D.C. Cir.

2011)). To demonstrate a cognizable future injury, Plaintiffs must show that (1) the “‘threatened

injury’ is ‘certainly impending,’ rather than merely ‘possible,’” id. (citing Clapper, 568 U.S. at

409), or (2) that “there is a substantial risk that the harm will occur.” Id. (citing Susan B. Anthony

List v. Driehaus, 573 U.S. 149, 158 (2014)). Plaintiffs cannot make either showing for the same

reason: their alleged injuries are far too speculative to be cognizable. Put differently, Plaintiffs



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have not shown there is a “substantial risk” that they will be transferred to NSGB and subjected to

violations of their rights there. See id. Neither have Plaintiffs shown that transfer to NSGB and

abuses there are “certainly impending.” See id. None of the facts alleged are sufficient to permit

the Court to find that Plaintiffs allege an imminent injury.

       Plaintiffs’ claim of imminent injury is belied by the sheer number of detainees who have

been repatriated (i.e., removed, returned, or expelled pursuant to a legal authority such as 8 U.S.C.

§ 1182(f)) without ever transiting through NSGB. That number, which in 2024 ranged from 47,490

to 74,360 monthly repatriations, simply dwarfs the small number of detainees—290 as of March 7,

2025—who have been transferred to NSGB since the Memorandum was issued more than a month

ago. Office of Homeland Security Statistics, Immigration Enforcement and Legal Processes

Monthly Tables, https://ohss.dhs.gov/topics/immigration/immigration-enforcement/immigration-

enforcement-and-legal-processes-monthly (last updated Jan. 16, 2025); Lopez Vega Decl. at ¶¶ 7,

8. Plaintiffs may argue that the reference group should be more limited because the majority of

them are Venezuelan nationals. But three of the Plaintiffs are not Venezuelan and instead hail from

different parts of the world. Compl. ¶¶ 20–22 (identifying Plaintiffs of Afghan, Pakistani, and

Bangladeshi nationality). Further, there are currently no Venezuelans detained at NSGB, with the

40 current detainees being from 27 distinct countries. Lopez Vega Decl. at ¶ 8.

       Plaintiffs are unable to point to anything in the Memorandum that would suggest the

government has plans to route Venezuelan detainees exclusively or even primarily through NSGB,

or even at a materially higher rate than other detainees over a sustained period of time. Instead,

they are simply projecting that all future transfers to NSGB will be similar to the first wave without

offering any evidence to support their assumption. In any case, even if Plaintiffs were to base their

estimation of the likelihood of being transferred to NSGB using strictly Venezuelan cases as a



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baseline, they would still be hard-pressed to show that their transfer is “certainly impending to

constitute injury in fact.” Whitmore v. Arkansas, 495 U.S. 149, 158 (1990).               Indeed, the

government has completed removals to Venezuela from the United States, including the 190

Venezuelans who were removed from El Paso on February 10, 2025. Las Americas v. Noam, No.

25-cv-418, at ECF No. 14-1 (Agudelo Declaration) at ¶ 11.

       In the face of these limited odds, Plaintiffs contend that there still is an imminent injury

because of their risk factors, i.e., the “risk of being transferred to [NSGB] because of a combination

of their final orders, nationality, and/or ICE’s frequently false allegations of gang membership and

criminality based on their tattoos.” See Mot. at 11. In addition, Plaintiffs note that some of them

were familiar with alleged threats made by “ICE officers [who] threatened multiple Venezuelans

with transfer to [NSGB] if they [did] not agree to deportation to Mexico.” Id. Plaintiffs’ risk factors

could demonstrate—at very best—some possibility that they could be transferred to NSGB. But

that is simply not enough to meet the “significantly more rigorous” burden of showing imminent

injury. Pharm. Rsch., 656 F. Supp. 3d at 150 (quotations omitted); see id. And for the reasons

below, Plaintiffs’ factual allegations and risk factors fall short of demonstrating a likelihood of

imminent injury.

       First, the declarations submitted by Plaintiffs states that Plaintiffs “heard” that the

government is transferring Venezuelans with final orders of removal who ICE believes to be

criminals to NSGB as a basis for their belief that they may also be transferred. See generally ECF

Nos. 2-4 through 2-13. But rumors cannot form the basis of a cognizable injury for purposes of

Article III standing. See Keystone Shipping Co. v. United States, 729 F. Supp. 136, 140 (D.D.C.

1990) (finding that plaintiffs lacked standing based in part on the fact that they only provided broad

allegations of injury based off rumors of an event yet to occur). And, here, the rumor does not



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connect the dots on Plaintiffs’ transfer, leaving Plaintiffs to supply their own speculations about

what the rumor means for them. Plaintiffs’ assertions that they “fit the profile of people that the

government has targeted for transfers—individuals with final orders of removal, including

Venezuelans” (Mot. at 10) is far too “abstract,” “conjectural,” and “hypothetical” to adequately

demonstrate imminent injury. See Pub. Citizen, Inc. v. Nat’l Highway Traffic Safety Admin., 489

F.3d 1279, 1292 (D.C. Cir. 2007). Indeed, under this theory, any detainee with a final order of

removal could claim an imminent injury by asserting a risk of transfer to NSGB—regardless of

their country of origin3 or other factors. This does not set Plaintiffs apart from any other detainee

with a final order of removal and falls short of the requirement that an injury in fact be “concrete,”

because Plaintiffs’ theory indicates that the risk of transfer is not material. See Spokeo, 578 U.S.

at 340.

          Second, Plaintiffs’ contentions about the combination of risk factors Plaintiffs allege might

lead to imminent transfer to NSGB lacks coherence and internal consistency—further indicating

that their alleged injury is “abstract,” “conjectural,” and “hypothetical.” See Pub. Citizen, Inc., 489

F.3d at 1292. For example, Plaintiff Escalona declares that he is at risk of being transferred to

NSGB because he is a Venezuelan national, has a final order of removal, and has tattoos. ECF No.

2-4, Escalona Decl. ¶ 5. But these first two qualities do not equate to a certainty of impending

transfer to NSGB. Indeed, Ms. Fleischaker declares that “190 Venezuelan detainees” were

removed “to Venezuela” without “transfer to Guantanamo.” See ECF No. 2-14, Fleischaker Decl.

¶ 32. These 190 Venezuelan detainees are ostensibly Venezuelan nationals—like Plaintiff



3
  The fact that three of the Plaintiffs in this action are not Venezuelan undercuts an implicit theme
in Plaintiffs’ action: that if an individual is Venezuelan with a final order of removal, they are at a
heightened risk of transfer to NSGB. See Compl. ¶¶ 20–22 (stating that three of the Plaintiffs are
either Afghan, Pakistani, or Bangladeshi nationals, respectively); but see, e.g., Mot. at 10 n.17
(“the only criteria to be sent to the base were being Venezuelan with final removal order”).
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Escalona—and they certainly had final orders of removal—also like Plaintiff Escalona. But these

detainees were not transferred to NSGB, despite Plaintiffs’ claim that Venezuelan nationals with

final orders of removal are subject to increased risk of transfer to NSGB. See Mot. 10–11. This,

again, demonstrates that Plaintiffs do not face any “certainly impending” injury here. See Clapper,

568 U.S. at 409 (“Although imminence is concededly a somewhat elastic concept, it cannot be

stretched beyond its purpose, which is to ensure that the alleged injury is not too speculative for

Article III purposes—that the injury is certainly impending.” (emphasis in original) (quotations

omitted)).

       Plaintiff Escalona, and similarly situated Plaintiffs, claim that their tattoos add to the risk

of imminent transfer to NSGB is also unavailing. For example, Plaintiff Laguna also declares that

he is at risk of transfer to NSGB as a Venezuelan national with a final order of removal, but he

does not claim to have any tattoos. See generally ECF No. 2-7, Laguna Decl. Neither do Plaintiffs

Sebrian, Salazar, Malik, Muhammad, and Rayhan. See generally ECF No. 2-9, Sebrian Decl.; ECF

No. 2-10, Salazar Decl.; ECF No. 2-11, Malik Decl.; ECF No. 2-12, Muhammad Decl.; ECF No.

2-13, Rayhan Decl. What Plaintiffs really argue, then, is that tattoos demonstrate risk of imminent

injury, but also that injury is still imminent despite a lack of tattoos. This is not concrete. See

Spokeo, 578 U.S. at 340.

       Finally, Plaintiffs argue that they are at risk of being transferred to [NSGB] because (1) the

government is targeting individuals it believes to be involved with gangs or other criminality and

ICE has alleged some Plaintiffs’ involvement in gangs or other forms of criminality and (2) ICE

threatened “multiple Venezuelans with transfer to [NSGB] if they do not agree to deportation to

Mexico.” See Mot. at 11. But not every Plaintiff has been accused of criminality or allegedly

threatened with transfer to NSGB. See, e.g., ECF No. 2-12, Malik Decl. More importantly, these



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allegations are insufficient to support their conclusion that transfer to NSGB is imminent. “When

an Article III injury hinges on a party’s intent to take some future action, the Constitution requires

more than mere ‘some day’ intentions. A plaintiff’s few words of general intent, without

substantial evidence of plans, do not support a finding of an actual or imminent injury.” Saba Cap.

Master Fund, Ltd. v. BlackRock Mun. Income Fund, Inc., 710 F. Supp. 3d 213, 220–21 (S.D.N.Y.

2024), aff’d sub nom. Saba Cap. Master Fund, LTD. v. Blackrock ESG Cap. Allocation Tr., No.

23-8104, 2024 WL 3174971 (2d Cir. June 26, 2024) (cleaned up) (citing Saba Cap. Cef

Opportunities 1, Ltd. v. Nuveen Floating Rate Income Fund, 88 F.4th 103, 111 (2d Cir. 2023)).

       Even if alleged statements of low-level ICE employees—filtered through Plaintiffs’

hearsay—established a genuine intent by Defendants to transfer them to NSGB, any such intent

expressed to these few Plaintiffs is at best understood as a “mere some day intention”—and the

Constitution demands more. See id. Plaintiffs have failed to demonstrate “substantial evidence of

plans” by Defendants to transfer them to NSGB. Id. In fact, Plaintiffs’ allegations do not

demonstrate any consistent pattern that would indicate imminent injury. At best, Plaintiffs unite in

their concerns of transfer to NSGB and their purportedly heightened risk of imminent transfer

given the (dissonant) “combination”4 of their different risk factors. See Mot. at 11. But again, that

is not enough to show an imminent injury. None of the allegations advanced by Plaintiffs

demonstrate why “there is a substantial risk” of transfer to NSGB or that such transfer is “certainly



4
  At least one Plaintiff claims they are at risk of transfer because they possess all the risk factors
stated in the Motion. That is, they are a Venezuelan national with a final order of removal, have
tattoos, have been allegedly questioned by ICE as to their gang affiliation, and have allegedly been
told that they would be sent to NSGB. See ECF No. 2-6, Cerrano Decl. ¶¶ 2, 10–12. At the same
time, other Plaintiffs claim they are at risk of transfer only because they have a final order of
removal but are from a country other than Venezuela. See, e.g., ECF No. 2-13, Rayhan Decl. As
stated previously, the only unifying characteristic of all these Plaintiffs is that they have a final
order of removal. That is not enough to demonstrate that imminent injury. See, e.g, Spokeo, 578
U.S. at 340.
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impending,” as to Plaintiffs themselves. See Pharm. Rsch., 656 F. Supp. 3d at 150. If anything,

Plaintiffs’ discussion of putative risk factors underscores that there is no imminent injury.

Accordingly, Plaintiffs’ even more speculative injury—that their rights will be violated while at

NSGB—fails because they are unable to show that they will be imminently transferred to NSGB

in the first place.

        In the end, this case is much like City of Los Angeles v. Lyons, 461 U.S. 95 (1983), Clapper,

and Summers. In each case, the plaintiffs identified some factors that might elevate the possibility

that they would be exposed to the conduct at issue (chokeholds, wire taps, or encountering logged

forests) might the baseline of the general populace. Clapper, 568 U.S. at 409; Summers, 555 U.S.

at 493; Lyons, 461 U.S. at 106. But in each case, that potential injury still was neither likely nor

imminent and insufficient to support standing. Clapper, 568 U.S. at 410-11 (“[R]espondents

merely speculate and make assumptions about whether their communications with their foreign

contacts will be acquired.”); Summers, 555 U.S. at 496 (“Accepting an intention to visit the

national forests as adequate to confer standing to challenge any Government action affecting any

portion of those forests would be tantamount to eliminating the requirement of concrete,

particularized injury in fact.”); Lyons, 461 U.S. at 105 (“That Lyons may have been illegally

choked by the police . . . does nothing to establish a real and immediate threat that he would again

be stopped for a traffic violation, or for any other offense, by an officer or officers who would

illegally choke him into unconsciousness without any provocation or resistance on his part.”). So

too here. Because Plaintiffs’ injury cannot possibly be “actual or imminent” or “certainly

impending.” See Clapper, 568 U.S. at 409 (emphasis in original). Plaintiffs’ “allegations of

possible future injury are not sufficient,” and thus fail to show injury in fact. See id. (emphasis in

original) (internal quotations omitted).



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II.    Plaintiffs’ APA claims are not cognizable.

       A.      Plaintiffs do not challenge any final agency action.

       Plaintiffs also fail to identify any final agency action to support their APA claims. The

APA limits judicial review to “final agency action for which there is no other adequate remedy in

a court.” 5 U.S.C. § 704. Although the requirement of finality is not jurisdictional, without final

agency action, “there is no doubt that [a plaintiff] would lack a cause of action under the APA.”

Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731 (D.C. Cir.

2003); Flytenow, Inc. v. FAA, 808 F.3d 882, 888 (D.C. Cir. 2015). Agency actions are final if two

independent conditions are met: (1) the action “mark[s] the consummation of the agency’s

decisionmaking process” and is not “of a merely tentative or interlocutory nature;” and (2) it is an

action “by which rights or obligations have been determined, or from which legal consequences

will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (internal quotation marks omitted).

       To the extent Plaintiffs challenge the “implementation” of the President’s operational

directives in the Memorandum, that is not a discrete, identifiable “agency action” subject to

challenge. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 890-91 (1990) (holding that a plaintiff

cannot challenge “the continuing (and thus constantly changing) operations” of the agency in

carrying out a program, but must instead “direct its attack against some particular ‘agency action’

that causes it harm”). The Supreme Court was clear that the APA precludes challenges to “the

entirety” of an administrative program, whereby plaintiffs seek “wholesale improvement” of an

agency’s operations “by court decree”—“rather than in the offices of [agencies] or the halls of

Congress, where programmatic improvements are normally made.” Id. at 891. Removal

operations—including the considerations that go into determining where an alien under a removal

order is detained, transferred, or removed—“implicate our relations with foreign powers and



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require consideration of changing political and economic circumstances.” Jama v. Immigration

and Customs Enforcement, 543 U.S. 335, 348 (2005) (internal quotation marks omitted).

Accordingly, courts should decline to hear any challenge that would interfere with the complex,

delicate, and considered process by which removal decisions are made in light of the particularized

facts within the agency’s command.

       Nor is the implementation of the President’s memorandum—even if it were a discrete

agency action—“final” so as to be reviewable under the APA. 5 U.S.C. § 704. Although Plaintiffs’

removal orders are final actions, any challenge to those decisions are limited to “a petition for

review filed with an appropriate court of appeals.” See 8 U.S.C. § 1252(a)(5). That leaves the

individual determinations they purportedly fear the agency might make to transfer them to

appropriate detention facilities as part of the execution of their final removal orders. But those

operational determinations have not happened and, even when they do, they do not trigger the

“legal consequences” of the removal efforts nor mark the “consummation” of the removal process.

Instead, any legal consequences are the direct outcome of the removal order itself, and at this point

nothing appears to hold back the execution of those orders other than “potential individualized

determinations that [they] cannot be removed to specific countries.” Padilla-Ramirez v. Bible, 882

F.3d 826, 833 (9th Cir. 2017); see generally 8 U.S.C. § 1231(b) (setting out countries to which

aliens may be removed); 8 U.S.C. § 1231(a)(1)(A); see id. § 1231(a)(1)(B)(i) (providing that the

removal period generally begins on the “date the order of removal becomes administratively

final”).Furthermore, the use of a particular detention site as a temporary staging point en route to

completing a removal to a designated country is purely an operational choice made entirely in the

agency’s discretion and attendant to the determinative final removal order, and is not a final agency

action subject to any court’s review. See 8 U.S.C. § 1231(g).



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       Similarly, Plaintiffs’ claims about initial steps taken after the Memorandum was issued and

the conditions of confinement at NSGB are not based on any identifiable final agency action. Mot.

at 19-23. See Vetcher v. Sessions, 316 F. Supp. 3d 70, 79 (D.D.C. 2018) (dismissing conditions of

confinement claims as failing to challenge a final agency action). Although in some jurisdictions

Plaintiffs may be able to challenge conditions of confinement through a writ of habeas corpus,

Plaintiffs are not detained in this jurisdiction, and therefore, must plead a valid APA claim in order

to maintain their challenge in this court. Id. at 78 (holding the jurisdiction of confinement is “the

only circuit under which [the detainee] may bring a habeas petition”). Plaintiffs’ allegations fall

well short of the applicable pleading standard as they amount to little more than a list of

(speculative, future) grievances about implementation steps, conditions they have not been

subjected to, and unexhausted claims. Accordingly, the Court should deny the motion on the basis

that Plaintiffs have not identified a final agency action to support their APA claims. See id. at 78-

79.

       B.      Plaintiffs’ APA claims also fail because transfer and removal decisions are
               committed to agency discretion by law.

       Even if APA review was generally available for residential actions, it would not be

available here. The APA does not permit review of actions “committed to agency discretion by

law.” 5 U.S.C. § 701(a)(2). Thus, even if Plaintiffs could credibly argue that the delegation of

responsibility contained in the President’s internal memorandum is an agency action, it would still

be barred from review, where the execution of removal orders is a process over which the

Executive Branch enjoys largely unfettered discretionary control.

       “A principal feature of the removal system is the broad discretion exercised by immigration

officials.” Arizona v. United States, 567 U.S. 387, 396 (2012); see id. at 409 (holding that decisions

“touch[ing] on foreign relations . . . must be made with one voice”); Mathews v. Diaz, 426 U.S.


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67, 81 (1976) (removal decisions “are frequently of a character more appropriate to either the

Legislature or the Executive than to the Judiciary”). Indeed, “any policy toward aliens is vitally

and intricately interwoven with contemporaneous policies in regard to the conduct of foreign

relations, the war power, and the maintenance of a republican form of government.” Harisiades v.

Shaughnessy, 342 U.S. 580, 588–89 (1952) (emphasis added). Here, decisions made to transfer

immigration detainees to NSGB are grounded in the President’s “broad power over the creation

and administration of the immigration system,” which necessarily includes discretion to determine

where individuals will be detained to execute their removal orders. Kerry v. Din, 576 U.S. 86, 106

(2015) (Kennedy, J., concurring in judgment).

       The Executive’s discretionary authority to administer the removal process is further

reinforced by the statute that governs judicial review of removal orders—8 U.S.C. § 1252, as well

as § 1231(g), which gives the Secretary of Homeland Security5 broad latitude to “arrange for

appropriate places of detention for aliens detained pending removal or a decision on removal.”

See Reno v. American-Arab Anti-Discrimination Comm., 525 U.S. 471, 486 (1999). Indeed, in

interpreting § 1231(g), courts throughout the country have recognized that determinations

regarding the location of confinement for individuals subject to removal orders are within the

discretion of the Executive Branch. See, e.g., Van Dinh v. Reno, 197 F.3d 427, 433 (10th Cir.

1999); Edison C. F. v. Decker, No. 2-cv-15455-SRC, 2021 WL 1997386, at *6 (D.N.J. May 19,




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  Although the statute and regulations refer to the “Attorney General,” these references should, in
light of the Homeland Security Act of 2002, be read as references to the Secretary of Homeland
Security. See Homeland Security Act § 471, 6 U.S.C. § 291 (abolishing the former Immigration
and Naturalization Service); id. § 441, 6 U.S.C. § 251 (transferring immigration enforcement
functions from the Department of Justice to the Department of Homeland Security); 8 U.S.C. §
1103(a)(1) (“The Secretary of Homeland Security shall be charged with the administration and
enforcement of this chapter and all other laws relating to the immigration and naturalization of
aliens . . . .”).
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2021) (“Congress has provided the Government with considerable discretion in determining where

to detain aliens pending removal or the outcome of removal proceedings.” (citing § 1231(g)(1))).

To the extent a stay of a transfer (particularly one not even shown to be imminent) would interfere

with that discretion to arrange for the detention of individuals who are subject to final removal

orders—and who do not otherwise challenge the legitimacy of those removal orders, see 8 U.S.C.

§ 1252(a)(5)—the APA provides no basis for judicial review.

       The APA also does not permit judicial review in cases where statute precludes it. 5 U.S.C.

§ 701(a)(1). As discussed below, 8 U.S.C. § 1252 plainly bars review of discretionary agency

actions, actions taken to remove an individual, or actions to execute a removal order. 8 U.S.C.

§§ 1252(a)(2)(B)(ii), (b)(9), (g). The statute allows for review in certain specified circumstances

and subject to specified limitations and prerequisites. See, e.g., 8 U.S.C. §§ 1252(a)(5), (b)(9), (e).

None of those provisions, however, apply to Plaintiffs’ APA claims here, which seek to constrict

how the Executive can exercise its broad powers under § 1231(g) and otherwise thwart its ability

to promptly execute final removal orders. Section 701(a)(1) thus bars APA review here as well.

       C.      The Court lacks jurisdiction to stay the government’s exercise of discretion to
               transfer an alien ordered removed to an appropriate place of detention.

       The Court lacks jurisdiction to enter any stay or other equitable relief regarding Plaintiffs’

removal orders. The jurisdiction of the federal courts is presumptively limited. Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). They “possess only that power authorized

by Constitution and statute, which is not to be expanded by judicial decree.” Kokkonen, 511 U.S.

at 377 (citations omitted); see also Sheldon v. Sill, 49 U.S. 441, 449 (1850) (“Courts created by

statute can have no jurisdiction but such as the statute confers.”). The Immigration and Nationality

Act deprives this Court of jurisdiction over Plaintiffs’ request for a stay of (or injunction against)

the detainees’ removal orders for three independent reasons.


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       First, 8 U.S.C. § 1252(g) deprives the Court of jurisdiction to review claims arising from

any decision or action to “execute removal orders.” See Jennings v. Rodriguez, 583 U.S. 281,

292‑95 (plurality) (concluding the district court lacked jurisdiction over a challenge to a “decision

to . . . seek removal”). Congress spoke clearly, providing that “no court” has jurisdiction over “any

cause or claim” arising from the execution of removal orders, “notwithstanding any other provision

of law,” whether “statutory or nonstatutory,” including habeas, mandamus, or the All Writs Act. 8

U.S.C. § 1252(g). By its terms, this jurisdiction-stripping provision precludes habeas review under

28 U.S.C. § 2241, as well as review under the APA, of claims arising from a decision or action to

“execute” a final order of removal. See AAADC, 525 U.S. at 482; cf. United States v. Texas, 599

U.S. 670, 680 (2023) (“In light of inevitable resource constraints and regularly changing public-

safety and public-welfare needs, the Executive Branch must balance many factors when devising

arrest and prosecution polices. That complicated balancing process in turn leaves courts without

meaningful standards for assessing those policies.”). The discretionary determination to transfer a

detainee to an appropriate place of detention as part or a removal effort pursuant to the

government’s authority under 8 U.S.C. § 1231(g) is just such an unreviewable “action” taken to

execute a final removal order. See AAADC, 525 U.S. at 485 (noting that § 1252(g) “seems clearly

designed to give some measure of protection to ‘no deferred action’ decisions and similar

discretionary determinations, providing that if they are reviewable at all, they at least will not be

made the base for separate rounds of judicial intervention outside the streamlined process that

Congress has designed”); Guangzu Zheng v. Decker, No 14-cv-4663-MHD, 2014 WL 7190993,

at *16 (S.D.N.Y. Dec. 12, 2014) (holding that § 1231(g) transfer authority “is among the [Secretary

of Homeland Security’s] discretionary powers” (internal quotation marks omitted)); Jacquet v.

Hodgson, No. CIV.A. 03-11568RWZ, 2003 WL 22290360, at *1 (D. Mass. Oct. 6, 2003) (holding



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that a court is “without power to prevent transfer of a plaintiff” because the “[Secretary of

Homeland Security] shall arrange for appropriate places of detention” under § 1231(g), and “no

court shall have jurisdiction” under § 1252(g) “to hear any cause or claim” arising from the

discretion granted to the Secretary).

       Second, any challenge, even an indirect one, to Plaintiffs’ removal orders themselves are

improper in district court. 8 U.S.C. § 1252(b)(9) (providing that “[j]udicial review of all questions

of law and fact, including interpretation and application of constitutional and statutory provisions,

arising from any action taken or proceeding brought to remove an alien from the United States . .

. shall be available only in judicial review of a final [removal] order.”) (emphases added); see also

8 U.S.C. § 1252(a)(5) (providing that “the sole and exclusive means for judicial review of an order

of removal” is a “petition for review filed with an appropriate court of appeals.”); Nasrallah v.

Barr, 590 U.S. 573, 580 (2020) (“The REAL ID Act clarified that final orders of removal may not

be reviewed in district courts, even via habeas corpus, and may be reviewed only in the courts of

appeals.” (citation omitted)); AADC, 525 U.S. at 482-83; Vetcher, 316 F. Supp. 3d at 76 (D.D.C.

2018) (noting that 8 U.S.C. § 1252(a)(5) and (b)(9) “streamline all issues arising from removal

proceedings into a petition for review that must be filed with a court of appeals after a final order

of removal from the [Board of Immigration Appeals]”); Delgado v. Quarantillo, 643 F.3d 52, 55

(2d Cir. 2011) (a claim that amounts to an “indirect challenge” to a removal order is barred by §

1252, and the distinction between the two “will turn on the substance of the relief that a plaintiff

is seeking.”); Jimenez v. Holder, 338 F. App’x 194, 196 (3d Cir. 2009) (concluding district court

lacked jurisdiction over habeas petition that, “though not explicitly styled as a challenge to his

removal order, calls for vacating the BIA’s decision upholding the order”). It follows, then, that,

the Court lacks jurisdiction under the INA to enter a stay of (or injunction against) Plaintiffs’



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removal orders. See 8 U.S.C. §§ 1252(a)(2)(B)(ii), (a)(5), (b)(9), (g); Mancho v. Chertoff, 480 F.

Supp. 2d 160, 162 (D.D.C. 2007) (“A request to stay an order of removal based on a pending

collateral claim does not escape the jurisdiction stripping provisions of the REAL ID Act.”).

       Third, 8 U.S.C. § 1252(a)(2)(B)(ii) similarly strips the Court of jurisdiction to grant

Plaintiffs’ request, where it bars review of “any other decision or action of the [Executive] the

authority for which is specified under this subchapter to be in the discretion of the [Executive].” 8

U.S.C. § 1252(a)(2)(B)(ii). Here, the Executive’s authority under § 1231(g) to decide the location

of detention for individuals detained pending removal falls within the scope of the review bar in

§ 1252(a)(2)(B)(ii). That is because, under § 1231(g), DHS “necessarily has the authority to

determine the location of detention of an alien in deportation proceedings,” including to transfer

detainees from one detention site to another. Gandarillas-Zambrana v. Bd. Immigration Appeals,

44 F.3d 1251, 1256 (4th Cir. 1995). The Executive’s broad discretion to determine appropriate

places of detention pending removal has repeatedly been recognized by federal courts after careful

review of § 1231(g). See, e.g., Van Dinh, 197 F.3d at 433; Wood v. United States, 175 F. App’x

419, 420 (2d Cir. 2006) (holding that the Secretary “was not required to detain [Plaintiff] in a

particular state” given the Secretary’s “statutory discretion” under § 1231(g)).

III.   To the extent Plaintiffs have any cognizable claims, they are improperly venued in the
       District Court for the District of Columbia.

       As demonstrated above, Plaintiffs fail to shoehorn their claims into ones cognizable under

the APA. At best, Plaintiffs have pled habeas claims that, if they survive dismissal, would need to

be severed and transferred to other jurisdictions. Accordingly, these claims do not confer upon this

Court authority to enter temporary relief both because the Court lacks jurisdiction over the claims

and Plaintiffs are unable to show that they are likely to prevail on them in this Court.




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       Plaintiffs have never been held in this district. Plaintiffs are detained at various facilities in

Texas, Arizona, and Georgia. Any habeas claims must be brought against the custodians of those

facilities (the “immediate custodian rule”) and in the venues in which the custodians reside (the

“habeas venue rule”). See Dufur v. U.S. Parole Comm’n, 34 F.4th 1090, 1097 (D.C. Cir. 2022);

Vetcher, 316 F. Supp. 3d at 78 (identifying the district of confinement as the only appropriate

venue for a habeas petition); see also Braden v. 30th Jud. Cir. Ct., 410 U.S. 484, 494-95 (1973)

(“The writ of habeas corpus does not act upon the prisoner who seeks relief, but upon the person

who holds him in what is alleged to be unlawful custody.”); Chatman–Bey v. Thornburgh, 864

F.2d 804, 810 (D.C. Cir. 1988). 6 Unless Plaintiffs are transferred within the authority of this

district, this case should be dismissed for a lack of venue. See 28 U.S.C. § 1406(a); see also

Mendoza-Linares v. Garland, 51 F.4th 1146, 1157 (9th Cir. 2022) (dismissing challenge to

expedited removal order in part for failing to follow the requirement under Federal Rule of

Appellate Procedure 22 to file in the district of confinement).

       Because Plaintiffs’ claims, to the extent any remain following a motion to dismiss, will

need to be severed and transferred as individual habeas petitions to other federal district courts,

this Court lacks jurisdiction to enter emergency relief on those claims.

IV.    Plaintiffs are not likely to prevail on the merits of their claims.

       In addition to all of the threshold defects discussed above, Plaintiffs’ claims fail on the

merits because: (1) the Secretary has statutory authority to transfer detainees to NSGB,




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 Venue is therefore limited to the U.S. District Court for the Western District of Texas, El Paso
Division, for Plaintiffs Escalona, Wilhelm, Cerrano, and Castellano. For Plaintiffs Laguna and
Sebrian, the proper venue would be in the U.S. District Court for the Western District of Texas,
Austin Division. For Plaintiff Salazar, venue should be in the U.S. District Court for the Northern
District of Georgia. And for Plaintiffs Malik, Muhammad, and Rayhan, their habeas claims should
be brought in the U.S. District Court for the District of Arizona, Phoenix Division.
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(2) Defendants have strong rationales for their decisions, thus defeating Plaintiffs’ arbitrary-and-

capricious claims, and (3) Plaintiffs have not identified any violation of substantive due process

that would justify a bar on transfers.

       A.      The Secretary has the statutory authority to transfer immigration detainees to
               NSGB.

       Plaintiffs have failed to establish that it would be unlawful to detain them at NSGB. As a

result, their statutory claims fail. Plaintiffs are lawfully in the custody of the Secretary as

individuals subject to final orders of removal. See Compl. at ¶¶ 13-22. Sections 1231(a)(6) and

1225(b)(1)(B)(iii)(IV) authorize the Secretary to detain individuals who are, respectively, subject

to final orders of removal and expedited removal orders. The Secretary’s authority under these

provisions begins upon entry of the removal order and extends until the Secretary relinquishes

custody of the detainee. See 8 U.S.C. § 1231(a)(6); 8 U.S.C. § 1225(b)(1)(B)(iii)(IV). Detention

authority under § 1231(a)(6) is limited to the amount of time reasonably necessary to execute the

removal order and will terminate if (after six months) the removal is not significantly likely to

occur in the reasonably foreseeable future. Zadvydas, 533 U.S. at 701. In addition to having

authority to detain individuals subject to final orders of removal, the Secretary also has broad

statutory authority to “arrange for appropriate places of detention for aliens pending removal” at

“United States Government facilities,” 8 U.S.C § 1231(g), and to “perform such other acts as [she]

deems necessary for carrying out [her] authority” under the INA, 8 U.S.C § 1103(a).

       Sections 1231(a)(6) and 1225(b)(1)(B)(iii)(IV) afford the Secretary extraterritorial

authority to manage international removal operations. Congress understands that the execution of

removal orders typically require the Secretary—by definition—to exercise extraterritorial

authority. See, e.g., 8 U.S.C. § 1231(e)(3)(A) (specifying funding source for costs associated with

removal); 8 U.S.C. § 1231(f) (authorizing caregiver travel for removal trip); U.S. Immigration and


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Customs Enforcement Budget Overview 2023 at 169, (Congress allocated more than $400 million

per year for ICE’s Transportation and Removal Program, a program with a mission that includes

providing “transportation to the noncitizen’s final destination.”).7 The overwhelming majority of

removals carried out under sections 1231 and 1225 are escorted removals—that is, removals where

ICE officers maintain custody of the individual who are being removed from the United States and

transport them to their country of removal. DHS OIG Report, OIG-19-28, ICE Faces Barriers in

Timely Repatriation of Detained Aliens, at 11 (Mar. 2019) (approximately 84,000 of the 90,000

removals in fiscal year 2017 were escorted removals).

       Section 1231(g) also affords the Secretary more narrow extraterritorial authority to select

appropriate places for removal to include any “United States Government facilities.” 8 U.S.C.

§ 1231(g); see also RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325, 340 (2016) (holding that

“an express statement of extraterritoriality is not essential,” and “‘context can be consulted as

well,’” to establish the extraterritorial effect of a statute). NSGB is a “United States Government

facility.” Indeed, this Court, in considering a different federal statute, has previously defined

“federal facility” to mean “a building or part thereof owned or leased by the Federal Government,

where Federal employees are regularly present for the purpose of performing their official

duties”—the definition encompassing both “diplomatic missions” and “component structures of

military bases.” United States v. Al-Imam, 373 F. Supp. 3d 247, 264 (D.D.C. 2019) (citing 18

U.S.C. § 930(g)). In line with the meaning of “federal facility,” the Court in that case found the

federal statute applied extraterritorially where the law had “foreseeable extraterritorial

applications.” Id.



7
 Available at https://www.dhs.gov/sites/default/files/2022-
03/U.S.%20Immigration%20and%20Customs%20Enforcement_Remediated.pdf (last visited
Mar. 3, 2025).
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       Along with § 1231(g), § 1103(a)(3)’s sweeping grant of authority for the Secretary to take

any action “deemed necessary” to the exercise of her other statutory authorities is also naturally

read as conferring extraterritorial authority when exercised in support of her extraterritorial

removal responsibilities. Cf. Sale v. Haitian Centers Council, Inc., 509 U.S. 155, 171 (1993)

(assuming 8 U.S.C. § 1103(a)(1) applies extraterritorially but finding exercise to be within section

1103(a)(1)’s exception).

       Therefore, §§ 1103(a)(3), 1225(b)(1)(B)(iii)(IV),1231(a)(6), and 1231(g) together confer

broad extraterritorial authority for ICE to carry out Congress’s removal mandate. The Secretary

has the authority to detain individuals subject to final orders of removal in U.S. government

facilities as part of an ongoing removal operation. For individuals detained under § 1231(a)(6),

that authority extends only so long as removal remains significantly likely to occur in the

reasonably foreseeable future. The immigration detainees at NSGB fall squarely within this

authority: they are subject to final orders of removal, have been taken to NSGB as part of the

government’s efforts to facilitate their removals, and can be held for only so long as their removal

remains significantly likely to occur in the reasonably foreseeable future.

       Plaintiffs argue that the government lacks the authority to transfer and detain them at

NSGB because the base is outside of the United States for purposes of the INA. Mot. at 13-14.

Defendants acknowledge NSGB’s status for purposes of the INA. However, the cited provisions

overcome the presumption against extraterritorial application. Sale, 509 U.S. at 173. Removal

operations are inherently extraterritorial missions and therefore necessarily require the Secretary

to exercise detention authority outside of the U.S. As noted above, many of ICE’s removal

operations are conducted by ICE transporting the detainee to their country of removal. As a result,

ICE routinely exercises its §§ 1231 and 1225 detention authority outside of the United States.



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Plaintiffs’ contrary arguments simply blink the reality of how removal operations have operated

for decades. Section 1103(a)(3) works in conjunction with these provisions to give the Secretary

all necessary authority to conduct the removal operation in her preferred manner, including to plan

the removal mission and arrange for appropriate staging points to support that mission. Indeed, it

would lead to an impossible situation if the government’s broad removal and detention powers

under the INA were held to instantly terminate as soon as the detainee’s flight left U.S airspace.

Detainees placed on ICE-operated removal missions must remain subject to ERO custody and

adhere to ICE transfer and transportation policies until they have arrived at the country of removal,

only at which point custody can be relinquished. See 8 U.S.C. § 1231(b) (setting out the categories

of countries to which aliens may be removed). None of that would be possible unless the

government’s authority to execute removal operations has an extraterritorial component.

       Plaintiffs next argue that the immigration detainees at NSGB have been removed to Cuba

based on Plaintiff’s view that removal occurs as soon the individual leaves the United States

without regard to whether he continues to be in the Secretary’s custody or has reached his country

of removal. Plaintiffs’ theory is not supported by law or common sense for three reasons.

       First, although NSGB is not in the United States for purposes of the INA, 8 U.S.C.

§ 1101(a)(38), the United States “exercises complete jurisdiction and control” over the naval

station. Boumediene v. Bush, 553 U.S. 723, 753-55 (2008) (finding “the United States, by virtue

of its complete jurisdiction and control over the base, maintains de facto sovereignty over this

territory”). There is no Cuban government presence at NSGB and no way for Cuban authorities to

exercise any control over the detainees. Plaintiffs notably concede that the detainees transferred to

NSGB have not lawfully been admitted to Cuba, Mot. 2-3, and that they have they reached their

country of removal. Therefore, while they may have physically departed the United States and



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transited through NSGB while remaining under ERO custody, DHS has not completed the removal

and have certainly not surrendered them to the control of the Cuban government. Detainees held

at NSGB remain in United States’ custody pending the completion of the removal operation.

       Second, Plaintiffs ignore that “removal” as contemplated by the INA is a legal term of art

that refers to a circumscribed, multi-step process that often involves detention, transfer, and travel.

Matter of G-N-C, 22 I. & N. Dec. 281, 296-97 (BIA 1998) (“’Removal’” is a term of art that was

coined in the enactment of the IIRIRA”); cf. United States v. Argueta-Rosales, 819 F.3d 1149,

1155 (9th Cir. 2016) (noting that under the INA “enter” can have “a narrower meaning than its

colloquial usage). Just as a detainee who, while being escorted, has a layover en route to their final

destination is not removed “to” that location, the immigration detainees have not been removed to

NSGB. Conversely, by Plaintiffs’ logic, if a removal flight in route to Romania were to make a

refueling stop in Germany, DHS would be compelled to release the detainees in Germany as the

agency would lack authority to continue the removal operation to the final destination after having

already “removed” the detainees “to” Germany. But that has never been the law and makes little

sense as a practical matter. Here, the term “removal” as it is used in section 1231(a)(6) is not

intended as a limitation or termination point on the Secretary’s detention authority. See 8 U.S.C. §

1231(a)(6) (“An alien . . . may be detained beyond the removal period”). Therefore, Plaintiffs’

narrow understanding of the term “removal” should not have any impact on the Secretary’s

authority to detain through to completion of the multi-step removal process.

       Third, courts recognize a distinction between a “physical” departure and a “legal”

departure. See Handa v. Crawford, 312 F. Supp. 2d 1367, 1370 (W.D. Wash. 2004), aff’d sub nom.

Handa v. Clark, 401 F.3d 1129 (9th Cir. 2005). To that end, the fact that an alien is physically on

foreign soil is not alone sufficient to establish that he has legally departed the United States.



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Id.; Matter of T, 6 I. & N. Dec. 638, 640 (BIA 1955) (holding that a person who leaves the United

States but does not lawfully enter another country, does not “enter” the United States upon his

return); INS Issues New Procedures for Entry of Aliens Granted Advance Parole, 70 Interpreter

Releases 1675, 1676 (Dec. 20, 1993) (“The mere fact that the alien has been physically present on

foreign soil is not sufficient to establish that the alien has departed from . . . the United States”). To

effectuate a departure or removal, the alien must lawfully enter another country. Handa, 312 F.

Supp. 2d at 1370 (“Because Dr. Handa had not legally entered Canada, Dr. Handa did not legally

depart from the United States.”); cf. Boumediene, 553 U.S. at 769 (indicating NSGB “[i]n every

practical sense . . . [is] not abroad” but rather “within the constant jurisdiction of the United

States”); see also Castaneda-Lugo v. Mukasey, 263 F. App’x 164, 165 (2d Cir. 2008).

        Just as an alien “on the threshold” of entry when he is detained after arriving at United

States port, an alien detained in the process of being removed to the country designated in his

removal order is “on the threshold” of removal—in both cases, physical presence or location is not

allowed to dictate the individual’s legal status or situation. Thuraissigiam, 591 U.S. at 140; 8 U.S.C

§ 1231(b)(2); cf. De Leon v. Holder, 761 F.3d 336, 338 (4th Cir. 2014) (holding that “entry” into

the United States for immigration purposes requires “freedom from official restraint,” which is

present when “the alien who is attempting entry is no[t] under constraint emanating from the

government that would otherwise prevent [him] from physically passing on”); Kaplan v. Tod, 267

U.S. 228, 230 (1925) (entrant was “in theory of law at the boundary line and had gained no foothold

in the United States” even after committed to the custody of aid society). Indeed, the removal

process is not complete until the individual reaches the final destination. See E.O.H.C. v. Sec’y

United States Dep’t of Homeland Sec., 950 F.3d 177, 184 (3d Cir. 2020) (citing Lin Zhong v. DOJ,

480 F.3d 104, 108 n.3 (2d Cir. 2007).



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       Even the cases cited by Plaintiffs acknowledge that removal is not dichotomous and should

be evaluated with more nuance and based on the government’s intent to effectuate the removal

order. For example, Plaintiffs cite Nicursor-Remus v. Sessions, 902 F.3d 895 (9th Cir. 2010), for

the proposition that any departure is sufficient to execute a removal order, but there the Court noted

that at least one “exception” exists. 902 F.3d at 895, 899-900 (finding the “alien in Handa never

‘left the United States’” because, inter alia, he was denied admission to the country of removal).

The Nicursor-Remus court found it consequential that “the FBI and ICE agents clearly intended

for the alien’s brief departure to execute the removal order” in determining whether the detainee

had been removed pursuant to the INA. Id. at 900. So too, in United States v. Sanchez, the court

found that the detainee was removed when he was “was escorted over the Mexican border” by

authorities who intended to effectuate his final order of removal but did so erroneously. 604 F.3d

356, 359-60 (7th Cir. 2010).

       No such circumstances are present here. The government has not relinquished custody of

the detainees and has explicitly stated that the removal operation is ongoing. Plaintiffs’ reliance

on Nicursor-Remus and Sanchez is thus misplaced.

       B.      Plaintiffs are not likely to succeed on the merits of their claims that Defendants
               acted arbitrarily or capriciously in the implementation of the Presidential
               Memorandum.

       Plaintiffs are also unlikely to succeed on the merits of their three claims that the

government acted arbitrarily or capriciously in implementing the President’s Memorandum.

       First, Plaintiffs argue that Defendants’ actions are inconsistent with the Memorandum

because detainees are being held at Camp VI and Plaintiffs allege some of the detainees at NSGB

are low-risk. Mot. at 17-18. Plaintiffs’ argument incorrectly assumes that Defendants’ authority to

hold immigration detainees is based solely on the Memorandum. But, as discussed above, the

Secretary has broad discretion to take the same actions by statute, both independent of and

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consistent with, the Memorandum. See supra Argument II.A. Moreover, none of the Plaintiffs are

presently held at NSGB, and have no basis to speculate whether they would be held at Camp VI.

See supra Argument I.A.2.

        Plaintiffs next argue that Defendants acted arbitrarily by moving too quickly to comply

with the President’s Memorandum. Mot. at 19-20. Notably, none of the Plaintiffs were part of the

initial group of NSGB detainees, and indeed, are not there now. Plaintiffs thus lack standing to

challenge this purportedly “early” implementation. It is further not reviewable under the APA, as

explained above. See supra Argument II.A-B. In addition, operating procedures have been

continuously updated since the first immigration detainees arrived, and are outlined at

https://www.ice.gov/detain/detention-facilities/naval-station-guantanamo-bay. See Lopez Vega

Decl. at ¶¶ 12, 14, 17; Green Decl. at ¶¶ 10-13, 22. And, in any event, failure to operate with typical

bureaucratic lethargy is not an APA violation. See Asylumworks v. Mayorkas, No. 20-cv-3815-

BAH, 2023 WL 2733722, at *8 (Mar. 31, 2023) (“Administrative delay in the many-level review

at agencies is routine such that a seemingly simple task … requires multiple steps and various

input.”).

        Finally, Plaintiffs argue Defendants’ failure to explain the reasons for transferring

immigration detainees to NSGB is arbitrary and capricious. As explained above, see supra

Argument II.D., and below, see supra Argument IV.C., Defendants have wide discretion to detain

individuals with final orders of removal, to plan and carry out removal missions, and to select

appropriate places of detention. Plaintiffs have not identified any instance in which a Court

required the government to justify using a particular detention facility or its removal path.

        To the extent the APA calls for any further justification, Defendants have explained that

are using NSGB due to limited detention capacity available elsewhere, making it desirable to add



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the capacity already available at NSGB to accomplish the President’s priority of completing the

removal of individuals with final orders of removal. Lopez Vega Decl. at ¶ 6. at ¶¶ 5, 6. Utilizing

unused detention capacity is rational response to limited resources and not arbitrary and capricious.

Plaintiffs’ policy-laden disagreements with Defendants’ reasons for transferring detainees to

NSGB is not sufficient to show a likelihood of success on the merits or to merit a stay on future

transfers.

        C.     Plaintiffs are unlikely to succeed on the merits of their substantive due process
               claims.

        The Supreme Court has repeatedly held that civil immigration detention is lawful exercise

of executive authority. See, e.g., Demore v. Kim, 538 U.S. 510, 531 (2003) (“Detention during

removal proceedings is a constitutionally permissible part of that process.”); Carlson v. Landon,

342 U.S. 524, 538 (1952) (“Detention is necessarily a part of this deportation procedure.”); Wong

Wing v. United States, 163 U.S. 228, 235 (1896) (“We think it clear that detention or temporary

confinement, as part of the means necessary to give effect to the provisions for the exclusion or

expulsion of aliens, would be valid.”); see also Reno v. Flores, 507 U.S. 292, 294-95 (1993)

(concluding the executive has “broad discretion to determine whether, and on what terms” an

individual can be detained or released pending deportation). Applied here, the government has

amply supported its basis for detaining individuals with final orders of removal at NSGB.

Plaintiffs’ allegations regarding the government’s motivations and the conditions at NSGB do not

support an injunction against future transfers. Plaintiffs have therefore failed to show a likelihood

of success on these claims to support their requested relief.

    1. Defendants have amply supported the decision to hold immigration detainees at NSGB.

        Plaintiffs suggest that the Court should set aside precedent and require the government to

justify its decision to detain final-order detainees in a particular facility prior to permitting their


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transfer. Plaintiffs have not cited any authority to suggest that the due process analysis imposes

that level of scrutiny on immigration officials. Congress has given the Executive Branch great

flexibility in the immigration context, with which the Courts are reluctant to interfere. See, e.g.,

INS v. Aguirre-Aguirre, 526 U.S. 415, 425 (1999) (“[W]e have recognized that judicial deference

to the Executive Branch is especially appropriate in the immigration context where officials

‘exercise especially sensitive political functions that implicate questions of foreign relations.’”

(quoting INS v. Abudu, 485 U.S. 94, 110 (1988))); Mathews v. Diaz, 426 U.S. 67, 81 (1976)

(“[S]uch decisions are frequently of a character more appropriate to either the Legislature or the

Executive than to the Judiciary. . . . Any rule of constitutional law that would inhibit the flexibility

of the political branches of government to respond to changing world conditions should be adopted

only with the greatest caution.”).

       Nonetheless, the government has explained its detention decision as related to its efforts to

effect a removal mission. Lopez Vega Decl. at ¶¶ 6, 8. That decision was made consistent with its

discretion to allocate and marshal its limited detention resources in support of that high-level

Executive priority. Defendants do not need to show that NSGB is essential to that plan, logistically

uncomplicated, or that it is the least expensive option. O’Lone v. Est. of Shabazz, 482 U.S. 342,

350 (1987) (“By placing the burden on prison officials to disprove the availability of alternatives,

the approach articulated by the Court of Appeals fails to reflect the respect and deference that the

United States Constitution allows for the judgment of prison administrators.”); Turner v. Safley,

482 U.S. 78, 90-91 (1987) (“[P]rison officials do not have to set up and then shoot down every

conceivable alternative method of accommodating the claimant’s constitutional complaint.”); see

also Bell v. Wolfish, 441 U.S. 520, 540 (1979) (“[T]he operation of our [detention] facilities is

peculiarly the province of the Legislative and Executive Branches of our Government, not the



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Judicial.”); see also Florence v. Bd. of Chosen Freeholders of Cnty. of Burlington, 566 U.S. 318,

328 (2012) (“The task of determining whether a policy is reasonably related to legitimate security

interests is peculiarly within the province and professional expertise of corrections officials.”

(cleaned up)).

       Plaintiffs point to statements from the President and other high-level officials in support of

their allegation that the decision to hold immigration detainee at NSGB is unlawfully driven by a

desire to stop illegal immigration. See Mot. at 24-27. As an initial matter, Plaintiffs cannot establish

any substantive due process right to detention unmotivated by considerations of deterrence. To do

so they would need to show such a right was “‘deeply rooted in this Nation’s history and

tradition,’” and “‘implicit in the concept of ordered liberty,’ such that ‘neither liberty nor justice

would exist if they were sacrificed.’” Washington v. Glucksberg, 521 U.S. 702, 721 (1997).

Plaintiffs have made no such showing here.

       The government does not dispute that the mass removal efforts are intended in part to deter

illegal migration, and, separately, that the efforts to find bedspace to stage removal operations is

related to that removal effort. That does not mean, however, that the decision to use NSGB is based

on an improper deterrence rationale. The Executive “is not required to conclusively link all the

pieces in the puzzle.” See Holder v. Humanitarian L. Project, 561 U.S. 1, 35 (2010); see also

Trump v. Hawaii, 585 U.S. 667, 699-702 (2018) (evaluating the significance of President’s

statements in the face of an otherwise neutral Presidential directive “addressing a matter within

the core of executive responsibility”).

       Plaintiffs are also mistaken when they suggest that deterrence is categorically an

impermissible purpose for an immigration detention policy. Mot. at 27 (citing R.I.L-R v. Johnson,

80 F. Supp. 3d 164 (D.D.C. 2015)). However, R.I.L-R, cannot be squared with the Supreme Court’s



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longstanding recognition that immigration detention is defined by a particular set of executive

powers, legitimate interests, and mitigating factors (including that aliens can always terminate

detention by returning to their country of nationality) that render it unique and insusceptible to the

restrictions Plaintiffs seek to impose. See, e.g., Mathews v. Diaz, 426 U.S. 67, 80 (1976) (“In the

exercise of its broad power over naturalization and immigration, Congress regularly makes rules

that would be unacceptable if applied to citizens.”); Harisiades v. Shaughnessy, 342 U.S. 580, 588-

89 (1952) (“[A]ny policy toward aliens is vitally and intricately interwoven with contemporaneous

policies in regard to the conduct of foreign relations, the war power, and the maintenance of a

republican form of government.”). Furthermore, the court in that case admitted that “[i]t is

certainly possible that this bar on employing general deterrence does not apply in the civil

immigration context—i.e., that some sort of immigration carve-out exists.” R.I.L-R, 80 F. Supp.

3d at 189. Thus, the relationship between the government’s immigration policies and its detention

decisions are simply too intertwined for courts to interfere.

       2. Plaintiffs are unlikely to show that the conditions at NSGB merit an injunction

against transfers.

       Ordinarily, when it is alleged that a detainee in immigration detention has been deprived

of liberty without due process, “the dispositive inquiry is whether the challenged condition,

practice, or policy constitutes punishment.” S. Poverty L. Ctr. v. DHS, No. CV 18-760 (CKK),

2020 WL 3265533, at *18 (D.D.C. June 17, 2020) (quoting Block v. Rutherford, 468 U.S. 576,

583 (1984)). To prevail on such a claim, the detainee must establish either a “subjective intent to

punish” or “that a restriction is unreasonable or excessive relative to the Government’s proffered

justification.” Americans for Immigrant Just. v. U.S. Dep’t of Homeland Sec., No. CV 22-3118

(CKK), 2023 WL 1438376, at *11 (D.D.C. Feb. 1, 2023); Doe v. Kelly, 878 F.3d 710, 714 (9th



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Cir. 2017). Plaintiffs attempt to meet that standard by asserting that the conditions at NSGB are

sub-par, but the Constitution “does not mandate comfortable” detention facilities. Rhodes v.

Chapman, 452 U.S. 337, 345-50 (1981). Detention may be subject to conditions that relate to

legitimate non-punitive governmental objectives, such as “maintain[ing] security and order at the

institution and mak[ing] certain no weapons or illicit drugs reach detainees” without raising

constitutional concerns. Bell v. Wolfish, 441 U.S. 520, 540 (1979). If the detainee can establish

that his conditions of confinement are equal to or worse than conditions experienced by inmates

convicted of a criminal offense, the burden shifts to the government to establish that the conditions

are “rationally related to a non-punitive purpose and . . . not excessive.” Americans for Immigrant

Just., No. CV 22-3118 (CKK), 2023 WL 1438376, at *12.

       Plaintiffs have not cited any relevant case law to show how courts should evaluate a

prospective conditions of confinement claim. Assuming Plaintiffs have standing and are able to

bring such a claim under the APA, that the relevant legal inquiry should be directed to the

procedures in place at the challenged facility, rather than on allegations by non-parties.8 See supra

Argument II.B. As detailed in the attached declarations and summarized below, Defendants have

core procedures in place to ensure detainees needs are appropriately met while detained at NSGB.

See generally Lopez Vega Decl.; Green Decl.

        Immigration detainees are housed in a communal living setting, and are afforded daily

recreation time, three daily meals, and access to medical care. Lopez Vega Decl. at ¶¶ 21, 26, 27,



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  Plaintiffs’ declarations contain significant amounts of inadmissible hearsay testimony. See Fed.
R. Evid. 801(c). While the Court may consider inadmissible evidence for the purposes of deciding
a preliminary injunction motion, its inadmissibility may be considered in determining what weight
to give such evidence. See Rubin ex rel. N.L.R.B. v. Vista Del Sol Health Services, Inc., 80 F. Supp.
3d 1058, 1073 (C.D. Cal. 2015) (quoting Garcia v. Green Fleet Sys., LLC, No. CV 14–6220, 2014
WL 5343814, *5 (C.D. Cal., Oct. 10, 2014)). The government’s declaration outlining detention
practices at NSGB are the best evidence on these questions.
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28, 33, 36; Green Decl. at ¶¶ 4, 8, 10. Immigration detainees have access to counsel, the ability to

make and receive unmonitored calls to their lawyers, and the ability to make a receive calls to

obtain representation. Lopez Vega Decl. at ¶¶ 1-15, 17-18, 31, 36-37; Green Decl. at ¶ 22.

Detainees have the opportunity to make short calls to family and friends. Lopez Vega Decl. at ¶¶

20, 31, 37; Green Decl. at ¶ 22. They are subject to searches and behavior correction in a manner

not inconsistent with the Departments’ practices. Lopez Vega Decl. at ¶ 23; Green Decl. at ¶¶ 23-

28. These procedures offer sufficient safeguards and eliminate any basis for enjoining transfer

based on conditions allegations.

V.     Plaintiffs have not established that they are likely to suffer irreparable harm

       The Supreme Court has repeatedly held that “plaintiffs seeking preliminary relief to

demonstrate that irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S. at

22. A mere “‘possibility’ standard is too lenient.” Id.

       For all of these reasons set forth above for why Plaintiffs’ harms are not imminent, they

also are unlikely. Plaintiffs’ speculation that some combination of Venezuelan nationality, tattoos,

and criminal history etc. might lead to their transfer to NSBG at best shows a mere “possibility”

of injuries from such a transfer—not that such harms are “likely.” Id. And without likely

irreparable harm, preliminary relief must be denied. See id.

VI.    The balance of harms and equities favor denial of emergency injunctive relief.

       The balance of equities and public interest factors merge when the government is a party.

Nken v. Holder, 556 U.S. 418, 435 (2009). The harm to the Plaintiffs is minimal as Plaintiffs are

not presently detained at NSGB, and do not allege that they are currently subject to any adverse

conditions of confinement or being held outside of the authority of the INA. Further, the Plaintiffs

are all represented by counsel in this case, and, in the event they are transferred to NSGB, they



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will have ready access to their lawyers and the ability to file a habeas petition challenging their

detention. See Lopez Vega Decl. at ¶ 38. Conversely, the requested relief would undermine the

government’s discretion to manage its limited detention resources to execute final removal orders.

       “There is always a public interest in prompt execution of removal orders: The continued

presence of an alien lawfully deemed removable undermines the streamlined removal proceedings

[Congress] established, and ‘permit[s] and prolong[s] a continuing violation of United States

law.’” Nken, 556 U.S. at 436 (quoting Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S.

471, 490 (1999)). Here, an order limiting the government’s transfer and staging authority would

necessarily undermine the Executive’s discretion to allocate and marshal its limited detention

resources in support of a high-level Executive priority. Given the evidence that access protocols

are in place, the allegations here should not outweigh the harm that would be imposed by

“injunctive relief [that] deeply intrudes into the core concerns of the executive branch,” Adams v.

Vance, 570 F.2d 950, 954 (D.C. Cir. 1978), including the “efficient administration of the

immigration laws at the border,” like the enforcement of expedited removal orders. Innovation

Law Lab v. McAleenan, 924 F.3d 503, 510 (9th Cir. 2019) (citing Landon v. Plasencia, 459 U.S.

21, 34 (1982)). The Court should therefore deny Plaintiffs’ request for emergency relief.




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                                      CONCLUSION
      The Court should deny the motion for a temporary restraining order.



Dated: March 10, 2025                     Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that March 10, 2025, I electronically filed this brief with the Clerk of the

Court for the United States Court of for the District of Columbia by using the CM/ECF system.

Counsel in the case are registered CM/ECF users and service will be accomplished by the CM/ECF

system.


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